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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION


KALSHIEX LLC,                              Case No.: 25-cv-1283

Plaintiff,
                     vs.

JOHN A. MARTIN, in his official capacity as COMPLAINT FOR PERMANENT
Secretary of the Maryland Lottery and Gaming INJUNCTION AND DECLARATORY
Control Commission and Director of the       RELIEF
Maryland Lottery and Gaming Control
Agency; MARYLAND LOTTERY AND
GAMING CONTROL AGENCY; MICHAEL
EATON, in his official capacity as Managing
Director of Gaming for the Maryland Lottery
and Gaming Control Agency; EVERETT D.
BROWNING, SR., in his official capacity as
Chair of the Maryland Lottery and Gaming
Control Commission; E. RANDOLPH
MARRINER, in his official capacity as Vice
Chair of the Maryland Lottery and Gaming
Control Commission; ADE ADEBISI, in h is
official capacity as Commissioner of the
Maryland Lottery and Gaming Control
Commission; DIANE CROGHAN, in her
official capacity as Commissioner of the
Maryland Lottery and Gaming Control
Commission; GEORGE L. DOETSCH, JR., in
his official capacity as Commissioner of the
Maryland Lottery and Gaming Control
Commission; HAROLD E. HODGES, in h is
official capacity as Commissioner of the
Maryland Lottery and Gaming Control
Commission; JAMES J. STAKEM, in his
official capacity as Commissioner of the
Maryland Lottery and Gaming Control
Commission; MARYLAND LOTTERY AND
GAMING CONTROL COMMISSION,

      c/ o John A. Martin
      1800 Washington Blvd., Suite 330
      Baltimore, MD 21230
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and ANTHONY G. BROWN, in his official
capacity as Attorney General for the State of
Maryland,

       200 St. Paul Place,
       Baltimore, MD 21202

Defendants.

                                             INTRODUCTION

        1.      This action challenges the State of Maryland's intrusion into the federal

government's "exclusive" authority to regulate futures derivatives trading on exchanges overseen

by the Commodity Futures Trading Commission ("CFTC"). 7 U.S.C. § 2(a){l ){A). Maryland
agencies are seeking to prevent Plaintiff KalshiEX LLC ("Kalshi") from offering event contracts

for trading on its federally regulated exchange. Maryland's attempt to regulate Kalshi intrudes

upon the federal regulatory framework that Congress established for regulating futures
derivatives on designated exchanges. Maryland law is both field-preempted and conflict-

preempted. This Court should therefore issue both a preliminary and a permanent injunction, as

well as declaratory relief to that effect.
        2.      Commodity futures regulation has long been under the exclusive purview of the

federal government. In 1936, Congress passed the Commodity Exchange Act ("CEA"), which

enacted a federal regulatory framework for derivatives. In 1974, Congress established a federal
agency called the CFTC to oversee it.

        3.      The text, purposes, and statutory history of the CEA leave no question that

Congress sought to preempt state regulation of futures derivatives on exchanges overseen by the
CFTC, known as "designated contract markets" or DCMs. The text of the statute gives the

CFTC "exclusive jurisdiction" over contracts traded on federally regulated exchanges. 7 U.S.C.

§ 2(a)( 1)(A). During the CEA' s drafting process, Congress deleted a provision that would have
granted states concurrent jurisdiction over futures derivatives. See 120 Cong. Rec. 30,464 (Sept.

9, 1974) (statements of Sens. Curtis and Talmadge). One of Congress's avowed goals in creating

the CFTC was to avoid the "chaos" that would result from subjecting exchanges to a patchwork


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of 51 different- and potentially conflicting- state laws. Commodity Futures Trading

Commission Act: Hearings Before the Senate Committee on Agriculture & Forestry, 93d Cong.,
2d Sess. 685 (1974) (hereinafter "Senate Hearings") (statement of Sen. Clark). And the statute

gives the CFTC comprehensive authority over regulated exchanges, including the authority to

approve or reject certain categories of event contracts as against the public interest.
        4.     For that reason, courts have easily found state laws preempted in similar contexts.

See, e.g., Am. Agric. Movement, Inc. v. Bd. of Trade of City of Chicago, 977 F.2d 1147, 1156

(7th Cir. 1992), abrogated on other grounds by Time Warner Cable v. Doyle, 66 F.3d 867 (7th

Cir. 1995). The CFTC itself agrees. It informed the U.S. Court of Appeals for the D.C. Circuit
just a few months ago that, "due to federal preemption, event contracts never violate state law

when they are traded on a DCM" like Kalshi. CFTC Brief at *27, KalshiEx LLC v. CFTC, 2024
WL 4512583 (D.C. Cir. Oct. 16, 2024) (emphasis added).

        5.     Three Maryland agencies- the Maryland Lottery and Gaming Control Agency,

the Maryland Lottery and Gaming Control Commission, and the Maryland Attorney General's
Office-are threatening to intrude on the comprehensive federal scheme for regulating

designated exchanges. Kalshi is a federally designated and approved derivatives exchange,

subject to the CFTC' s exclusive jurisdiction. It offers consumers the chance to invest in many
types of event contracts, including, as relevant here, sports-event contracts. These contracts are

subject to extensive oversight by the CFTC, and-critically- they are lawful under federal law.

Three months ago, the CFTC allowed Kalshi' s sports-event contracts to take effect without

restriction.
        6.     Even though Kalshi's contracts are lawful under federal law, Defendants are

threatening to shut down these contracts in Maryland "immediately." Exhibit 1, at 2.
Defendants' actions would subject Kalshi to the patchwork of state regulation that Congress

created the CFTC to prevent and would interfere with the CFTC' s exclusive authority to regulate

futures derivatives contracts in the exchanges it oversees. For that reason, Defendants' actions

are preempted under the Supremacy Clause of the U.S. Constitution- both because Congress has

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occupied the entire field of regulating futures derivatives on CFTC-approved exchanges and

because Defendants' acts would squarely conflict with federal policy.
       7.      Kalshi is aware of no other exchange regulated by the CFTC subject to state law

in Maryland or any other state.

       8.      Kalshi is entitled to declaratory and injunctive relief to prevent Maryland
authorities from enforcing their preempted state laws against Kalshi.

       9.      The Maryland authorities' actions threaten immediate and irreparable harm, not

just to Kalshi but to its customers. Shutting down its contracts in Maryland would threaten
Kalshi's viability and require devising complex technological solutions whose feasibility is

entirely untested and unclear. Defendants' acts would also impair Kalshi's existing contracts

with consumers, subject Kalshi' s users to uncertainty and loss, and undermine confidence in the
integrity of Kalshi's platform. For those reasons, concurrently with the filing of this complaint,

Kalshi seeks an emergency temporary restraining order and preliminary injunction to avoid

immediate and irreparable harm that would result from Defendants' unlawful acts.
        10.    The U.S. District Court for the District of Nevada recently granted Kalshi a

preliminary injunction in a substantially similar case. Like the Defendants here, state officials

and state agencies in Nevada threatened Kalshi with civil and criminal liability for offering event

contracts that were claimed to be contrary to Nevada law. Kalshi brought suit and sought a
preliminary injunction, which the court granted. The court explained that "because Kalshi is a

CFTC-designated DCM, it is subject to the CFTC's exclusive jurisdiction and state law is field
preempted." KalshiEX LLC v. Hendrick, No. 2:25-cv-00575-APG, 2025 WL 1073495, at *6 (D.

Nev. Apr. 9, 2025). And the court noted that Kalshi faced irreparable harm because it "faces a

'Robson's choice': if it does not comply with the defendants' demand to cease it foe.es civil and
criminal liability, but if it does comply it will incur substantial economic and reputational harm

as well as the potential existential threat of the CFTC taking action against it for violating the

CFTC' s Core Principles if Kalshi disrupts contracts or geographically limits who can enter
contracts on what is supposed to be a national exchange." Id. at *7.

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        11.    The court further noted that other states like Maryland "have sent" Kalshi cease-

and-desist letters, which "highlights the problem of allowing the States to regulate a national
exchange" because it "raises the possibility that another State would have different rules than not

only [] the CFTC, but other States." Id. As the court explained, "[p]reventing the difficulties

that would create is the reason Congress granted the CFTC exclusive jurisdiction over CFTC-
designated exchanges." Id.

                                  JURISDICTION AND VENUE

        12.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

the action arises under the Supremacy Clause of the United States Constitution. The federal
question presented is whether Maryland gambling laws are preempted by the Commodity

Exchange Act, 7 U.S.C. §§ 1 et seq. , as applied to Kalshi's event contracts.
        13.    The Eleventh Amendment imposes no bar to this Court's jurisdiction in this suit

for prospective declaratory and injunctive relief against state officials. The Eleventh

Amendment, as construed in Ex parte Young, 209 U.S. 123, 160 (1908), allows private plaintiffs
"to petition a federal court to enjoin State officials in their official capacities from engaging in

future conduct that would violate the Constitution or a federal statute." Indus. Servs. Grp., Inc.

v. Dobson, 68 F.4th 155, 163 (4th Cir. 2023).
        14.     Venue is proper under 28 U.S.C. §§ 1391(b)(l) and 1391(b)(2). The Individual

Defendants perform their duties, and thus reside, in this District. The Maryland Lottery and

Gaming Control Agency and Maryland Lottery and Gaming Control Commission are subject to

this Court's personal jurisdiction and thus reside in this district. A substantial part of the events
giving rise to the claim occurred in this District.

                                              PARTIES

        15.    Plaintiff Kalshi is a financial services company with its principal place of business

in New York. Kalshi operates a derivatives exchange and prediction market where users can buy

and sell financial products known as event contracts. Its exchange market is federally regulated




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by the Commodity Futures Trading Commission pursuant to the Commodity Exchange Act, 7

U.S.C. §§ 1, et seq.
       16.     Defendant John A. Martin is sued in his official capacity as Secretary of the

Maryland Lottery and Gaming Control Commission and Director of the Maryland Lottery and

Gaming Control Agency.
       17.     Defendant Michael Eaton is sued in his official capacity as Managing Director of

Gaming of the Maryland Lottery and Gaming Control Agency.

       18.     Defendant Everett D. Browning, Sr. is sued in his official capacity as Chair of the

Maryland Lottery and Gaming Control Commission.
       19.     Defendant E. Randolph Marriner is sued in his official capacity as Vice Chair of

the Maryland Lottery and Gaming Control Commission.

       20.     Defendant Ade Adebisi is sued in his official capacity as Commissioner of the
Maryland Lottery and Gaming Control Commission.

       21.     Defendant Diane Croghan is sued in her official capacity as Commissioner of the

Maryland Lottery and Gaming Control Commission.
       22.     Defendant George L. Doetsch, Jr. is sued in his official capacity as Commissioner

of the Maryland Lottery and Gaming Control Commission.
       23.     Defendant Harold E. Hodges is sued in his official capacity as Commissioner of

the Maryland Lottery and Gaming Control Commission.

       24.     Defendant James J. Stakem is sued in his official capacity as Commissioner of the

Maryland Lottery and Gaming Control Commission.
       25.     Defendant Maryland Lottery and Gaming Control Agency ("MLGCA") is sued as

the state agency that regulates the state's casinos and sports wagering entities and is responsible

for ensuring that all casinos and sports wagering licensees comply with all regulations before
issuing an operation license. The MLGCA oversees licensing, internal controls, auditing and

accounting, compliance, and responsible gaming at regulated casinos and sportsbooks in



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Maryland. As the state's gaming regulator, the MLGCA has jurisdiction over all persons

participating in casino gaming.
       26.     Defendant Maryland Lottery and Gaming Control Commission ("MLGCC") is

sued as the independent advisory board to the Maryland Lottery and Gaming Control Agency.

The MLGCC oversees the work of the MLGCA's staff.
       27.     Defendant Anthony G. Brown is sued in his official capacity as Attorney General

of Maryland.

       28.     Together, defendants John A. Martin, Michael Eaton, Everett D. Browning, Sr., E.
Randolph Marriner, Ade Adebisi, Diane Croghan, George L. Doetsch, Jr., Harold E. Hodges,

James J. Stakem, as commissioners ofMLGCA and MLGCC, and Anthony G. Brown, as

Attorney General, would be responsible for enforcing any demand for Kalshi to comply with
Maryland state law that is preempted by federal law.

                                  FACTUAL ALLEGATIONS

   A. An Event Contract-Like Other Derivatives-ls A Recognized Financial Tool To

       Mitigate Risk.

       29.     Derivatives contracts are financial tools used to mitigate risk and disseminate

pricing information. Event contracts are a quintessential example of a derivatives contract- they
are a type of option. This form of derivatives contract identifies a future event with several

possible outcomes, a payment schedule for the outcomes, and an expiration date. Most

commonly, event contracts involve a binary question: Every "yes" position has an equal and
opposite "no" position. For example, a derivatives contract might center around whether an

earthquake will take place in Los Angeles County before December 31, 2025. A purchaser may

trade on either the "yes" or the "no" position on the Los Angeles earthquake contract. If an
earthquake does take place in Los Angeles County before the end of the calendar year, then the

"yes" positions would be paid out.




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       30.     Event contracts are traded on an exchange. Traders exchange positions with other

traders in the marketplace. Importantly, event contracts do not reflect a "bet" against the
"house."

       31.     The value of an event contract is determined by market forces. An event

contract's price will fluctuate between the time of its creation and the expiration date in
accordance with changing market perceptions about the likelihood of the event's occurrence.

During that period, individuals can buy and sell the contract at its fluctuating prices. The

ultimate value of an event contract is determined at its expiration date. If the underlying event
occurs, the holder of the "yes" position is entitled to its full value. But if the underlying event

does not occur, the holder of the "no" position gets the payment.

       32.     Traders price event contracts by reference to available information at any given
time. If new information comes to light portending an increase in the likelihood of the event's

occurrence, then the event contract's price will increase. The market prices of event contracts

thus reflect probabilistic beliefs about whether the underlying event will occur. Returning to the
earthquake example, a ''yes" contract that trades at 30 cents reflects that the market believes that

there is a 30% chance of an earthquake this year. The 30% figure can be informed by datapoints

that the market deems significant, such as the time since the last earthquake in the area and the
frequency of fault line tremors in preceding months surrounding Los Angeles County.

       33.     Event contracts are a valuable means to hedge risk against event-driven volatility.

Event contracts reflect real-time risk assessment and thus provide a nuanced and finely tuned
opportunity for traders to mitigate their exposure on real-world events in an uncertain market.

There is no other financial instrument with the unique capability to capture the risks of an event

with economic consequences. A property owner in Los Angeles County might purchase an

earthquake event contract because the payoff would offset economic losses in the event an
earthquake occurs.

       34.     Event contracts should not be mistaken for insurance. While insurance covers

property losses, event contracts can cover a wider range of possible economic fallout like

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temporary shelter, a decline in rental income, or short-term cost increases for basic needs due to

shortages generated by an earthquake.

       35.     Event contracts are also a valuable means of communicating information to the

general public because contract prices reflect prevailing market opinions and conditions.

Prediction markets thus serve as sensitive information-gathering tools that can provide insights

for stakeholders- including businesses, individuals, governments, and educational institutions.

The data that is generated through prediction markets can also help to set rates and prices for

assets whose value depends on the occurrence or non-occurrence of the underlying event. See 7

U.S.C. § 5(a) (derivatives contracts, including event contracts, "are affected with a national

public interest by providing" both a means for hedging risk and "disseminating pricing

information through trading in liquid, fair and financially secure trading facilities").

   B. Congress Delegated The Power To Regulate Event Contracts That Are Offered By

       A Regulated Exchange To The Commodity Futures Trading Commission.

       36.     Futures contracts have long been regulated by the federal government. In 1936,

Congress passed the CEA, which provides for federal regulation of all commodities and futures

trading activities and requires that all futures and commodity options are traded on organized,

regulated exchanges.

       37.     In 1974, Congress established the CFTC as the federal agency empowered to

oversee and regulate exchanges under the CEA. Proponents of the 1974 Act were concerned that

the "states ... might step in to regulate the futures markets themselves[,]" which would lead to

the undesired outcome that national futures exchanges might be subject to "conflicting regulatory

demands." A m. Agric. Movement, 977 F .2d at 1156. One Senator remarked that "different State

laws would just lead to total chaos." Senate Hearings, 93d Cong., 2d Sess. 685 (1974)

(statement of Sen. Clark). As a solution, the House Committee on Agriculture put "all

exchanges and all persons in the industry under the same set of rules and regulations for the

protection of all concerned." H.R. Rep. No. 93-975, at 79 (1974). The Senate reaffirmed the

CFTC' s exclusive power by deleting a provision of the CEA that would have preserved the

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states' authority over futures trading. See 120 Cong. Rec. 30,464 (Sept. 9, 1974) (statements of

Sens. Curtis and Talmadge).
        38.     To offer derivatives for public trading, an entity must seek and receive the

CFTC's designation as a contract market. 7 U.S.C. §§ 2(e), 7(a); 17 C.F.R. § 38.3(a). An entity

must first submit an application to the CFTC detailing how the entity complies with the 23 Core
Principles of the CEA. 17 C.F .R. § 38.3(a)(2). Among other things, the proposed contract

market must show that it can and will (1) comply with all CFTC requirements imposed by rule or

regulation; (2) establish, monitor, and enforce compliance with the rules; (3) list only contracts
that are not readily susceptible to manipulation; (4) have the capacity and responsibility to

prevent manipulation, price distortion, and disruptions through market surveillance, compliance,

and enforcement; and (5) adopt position limitations for each contract to reduce the threat of

market manipulation. 17 C.F.R. §§ 38.100, 38.150, 38.200, 38.250, 38.300. Proposed
exchanges must provide detailed information demonstrating their capacity to abide by the CEA.

17 C.F .R. § 38.3(a)(2). The CFTC then reviews the application and renders a decision on the
purported market's designation within 180 days of submission. 17 C.F .R. § 38.3(a)(2).

        39.     Once the CFTC designates an entity as a contract market, the CEA gives the

CFTC "exclusive jurisdiction" over the derivatives that are traded on the regulated market.
Those derivatives include "accounts, agreements (including any transaction which is of the

character of, or is commonly known to the trade as, an 'option', 'privilege', 'indemnity', 'bid',

'offer', 'put', 'call', ' advance guaranty', or 'decline guaranty'), and transactions involving swaps
or contracts of sale of a commodity for future delivery." 7 U.S.C. § 2(a)(l)(A). This exclusive

jurisdiction extends to "event contracts." See id. § la(47)(A)(ii), (iv), (vi).

        40.     Once an exchange is designated as a CEA-compliant contract market- known as
a DCM- the market is subject to an extensive framework for CFTC oversight. Part 38 of Title

17, Chapter 1 of the U.S. Code comprehensively regulates DCMs, ensuring that these markets

continue to comply with the CEA. Exchanges must meet detailed requirements to maintain good

standing as DCMs. 17 C.F.R. pt. 38. Among other things, DCMs must abide by recordkeeping
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requirements that specify the form, manner, and duration ofretention. 17 C.F.R. §§ 38.950,

1.31. DCMs must meet reporting obligations such as furnishing daily reports of market data on

futures and swaps to the CFTC. 17 C.F.R. § 38.450, pt. 16. Specific liquidity standards,

disciplinary procedures, dispute resolution mechanisms, board of directors requirements,

auditing demands, and more are also detailed in Part 38. A DCM must adhere to all these

requirements to comply with the CEA and remain in good standing before the CFTC. 7 U.S.C.

§ 7(d); 17 C.F .R. pt. 38. As long as the DCM abides by the requirements set forth in the CEA, it

may list contracts on its exchange without pre-approval from the CFTC. Instead, the DCM may

self-certify that the contract complies with applicable law by filing a "written certification" with

the CFTC at the time oflisting. 7 U.S.C. § 7a-2(c)(l); 17 C.F.R. § 40.2(a). The CFTC may

initiate review of any contract under its purview. See 7 U.S.C. § 7a-2(c)(2); 17 C.F.R.

§ 40.1 l(c).

        41 .   Alternatively, DCMs may submit contracts to the CFTC for approval prior to

listing. 7 U.S.C. § 7a-2(c)(4)(A); 17 C.F.R. §§ 40.3(a), 40.ll(c). The CFTC "shall approve a

new contract" unless the CFTC finds that it would violate the CEA. 7 U.S.C. § 7a-2(c)(5)(B).

        42.    The CEA's enforcement process rounds out the comprehensive federal framework

that regulates futures derivatives sold on DCMs. The CEA gives the CFTC discretion as to how

to police and enforce violations of the CEA for DCMs. The CFTC includes an Enforcement

Division, which may initiate investigations and, with the approval of a majority of the CFTC,

pursue enforcement actions in federal court or administrative proceedings. If the Division

concludes that there has been a violation of the CEA, it may recommend to the Commission that

it seek a wide range of enforcement measures, including civil monetary penalties; restitution;

disgorgement; the suspension, denial, revocation, or restriction of registration and trading

privileges; and injunctions or cease-and-desist orders. See CFTC Division of Enforcement,

Enforcement Manual (2020), at§ 3.3. If the Division suspects that an entity has engaged in

criminal violations, the Division may also refer the matter to the Department of Justice or the

appropriate state authority for prosecution. Id.

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        43.      The CFTC regulates derivatives in products like "wheat, cotton, rice, com, [and]

oats," as well as "excluded commodities" such as interest rates, certain financial instruments,
economic indices, risk metrics, and events. 7 U.S.C. § l a(9), (19)(i)-(iv). The CFTC regulates

event contracts as a type of derivative referencing an "excluded commodity." See id. §

l a(47)(A)(ii), (iv), (vi); see KalshiEX LLC v. Commodity Futures Trading Comm 'n, No. 23-3257

(JMC), 2024 WL 4164694, at *2-3 (D.D.C. Sept. 12, 2024). "Event contracts" are "agreements,

contracts, transactions, or swaps in excluded commodities." 7 U.S.C. § 7a-2(c)(5)(C)(i). Events

themselves constitute "excluded commodities" under the CEA and are defined as any
"occurrence, extent of an occurrence, or contingency" that is "beyond the control of the parties to

the relevant contract" and "associated with" financial, commerciai or economic consequences.

Id. § l a(19)(iv).

        44.      In 2010, Congress amended the CEA to address event contracts specifically.
Congress provided that the CFTC "may"- but need not-conclude that event contracts are

"contrary to the public interest" if they "involve" an "activity that is unlawful under any Federal
or State law," "terrorism," "assassination," "war," "gaming," or "other similar activity

determined by the Commission, by rule or regulation, to be contrary to the public interest." 7

U.S.C. § 7a-2(c)(5)(C)(i).
    C. After An Extensive Regulatory Prncess, The CFTC Registered Kalshi As A

        Contract Market That Operates Under Federal Law.

        45.      Kalshi is a regulated exchange and prediction market where users can buy and sell
event contracts. In 2020, the CFTC unanimously certified Kalshi as a designated contract

market, affmning that its platform complied with the CEA. Since then, Kalshi has been fu lly

regulated as a financial exchange under federal law alongside entities such as the Chicago
Mercantile Exchange and the Intercontinental Exchange.

        46.      Kalshi specializes in event contract trading, offering a secure and federally

approved exchange where individual, retaii and institutional participants can hedge their risks on

event-based outcomes.

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       47.     Kalshi offers many kinds of event contracts related to an array of substantive

areas such as climate, technology, health, crypto, popular culture, and economics. For example,
Kalshi's platform currently allows users to trade on whether India will meet its 2030 climate

goals or whether the market share for electric vehicles will be above 50% in 2030. Kalshi offers

contracts on the outcomes of Supreme Court decisions, congressional votes, weather events,
technological benchmarks, markers of cultural influence, and Federal Reserve interest rate

decisions.

       48.     Among its menu of event contracts, Kalshi offers sports-event contracts.
       49.     Kalshi self-certified and began listing sports-event contracts on its exchange on

January 24, 2025. Kalshi's sports-event contracts allow users to place positions on which teams

will advance in certain rounds of the NCAA College Basketball Championship or who will win

the U.S. Open Golf Championship. The CFTC declined to restrict Kalshi's sports-event
contracts. Unless and until the CFTC takes action on Kalshi' s sports-event contracts, they

remain authorized under federal law.

       50.     Several other federally regulated exchanges began listing sports-related event
contracts around the same time. In response, the CFTC exercised its power to commence review

of a sports-related event contract offered by NADEX/crypto.com- a designated contract market
that the CFTC certified under the name HedgeStreet in 2004. The CFTC initiated its 90-day

review period of the sports-related contracts on January 14, 2025. The CFTC requested that

NADEX/crypto.com suspend its sports-related contracts during the pendency of the review. But
the CFTC never made a similar request to Kalshi.

   D. The Maryland Lottery and Gaming Control Commission Threatened Kalshi With

       State Criminal Action With Regard To Its Spo11s-Event Contracts.

       51.     On April 7, 2025, the MLGCC sent a Notice to Cease and Desist to Kalshi. The

MLGCC informed Kalshi that its sports-event contracts violated Maryland law, and directed

Kalshi to "immediately cease and desist offering" them in the state. Exhibit 1, at 1.




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       52.     The MLGCC warned that under Maryland law, gaming activities are illegal unless

expressly authorized in the Annotated Code of Maryland, Criminal Law ("Crim. Law") Titles 12
and 13. Id. The letter further noted that MLGCC has the "final determination of whether

gaming is operating legally." Id. (citing Crim. Law§ 12-113).

       53.     The MLGCC also noted that "[s]ports wagering" is a legal, authorized gaming
activity in Maryland only "if it is offered and conducted as required by the State's Sports

Wagering law." Id. (citing State Government Article ("SG") § 9-lE-01, et seq.) According to

the letter, the Commission approves legal sports wagers in Maryland and retains a broader

responsibility to oversee sports wagering and sports gaming revenue in the state. Id. (citing SG §
9-lE-0l(j); Code of Maryland Regulations ("COMAR") 36.10.01.02B(24); SG § 9-lE-0l(b); SG

§ 9-lE-0l(e); SG § 9-lE-0l(k); SG § 9-lE-0l(i); SG § 9-1E-04(b)(6)(ii); COMAR 36.10.14.01;
SG § 9-lE-04; SG § 9-lE-12).

       54.     The MLGCC further described a January 22, 2025 letter that Kalshi sent to the

CFTC regarding an event contract "relating to American sport leagues." Id. at 2. The MLGCC

concluded that those contracts are "indistinguishable from the act of placing a sports wager" as
defined under Maryland law. Id.

       55.      The MLGCC concluded that by offering its contracts in Maryland, Kalshi was
engaged in business in Maryland, but was unable to find Kalshi on a list of business entities

registered with Maryland's State Department of Assessment and Taxation ("SDAT"). The

MLGCC further noted that failure to register with SDAT would violate Business Regulation§
14-113, Annotated Code of Maryland, which prohibits any "person" from "sell[ing] or offer[ing]

to sell any business opportunity in the State or to any prospective buyer in the State unless the

business opportunity is registered under this subtitle." Id.
       56.     Concluding that Kalshi "is operating in Maryland and is offering and conducting

what is, in fact, wagering on sporting events" without a sports wagering license issued by the

MLGCC, approval of its "wagers" by the MLGCC, or any other authorization under Maryland
law, the MLGCC directed Kalshi to "immediately cease and desist these illegal offerings in

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Maryland." Id. The MLGCC's letter further instructed Kalshi to let the MLGCC know "within

15 days of [April 7, 2025] that Kalshi has complied with this notice." Id.

       57.     Kalshi's counsel acknowledged receipt of the MLGCC's letter by email on the

evening of April 7, 2025 and asked for an opportunity to discuss the issues raised therein. In a

written response sent the next day, defendant MLGCC Managing Director of Gaming Michael

Eaton stated that the MLGCC required a written response to its letter by April 22, 2025 before it

would engage with Kalshi and its counsel.

       58.     On April 8, 2025, the U.S. District Court for the District of Nevada preliminarily

enjoined Nevada officials from pursuing legal action against Kalshi for offering event contracts

in Nevada in a substantially similar case. Hendrick, 2025 WL 1073495, at *8. The court found

that federal law preempts the "field of regulating CFTC-designated exchanges and the

transactions conducted on those exchanges." Hendrick, 2025 WL 1073495, at *12. The court

explained that Kalshi's contracts are "legal under federal law," and that Nevada's threats of civil

and criminal enforcement of state gaming laws against Kalshi establish that Kalshi was likely to

incur irreparable harm absent a preliminary injunction. Under the CEA, the court noted, states

that object to Kalshi's sports event contracts "must take that up with the CFTC and Congress"

rather than seeking to subject Kalshi to state law that federal law has preempted. Id. at *6-8.

       59.     On April 18, 2025, Kalshi's counsel reached out to the MLGCC, offering to

discuss the issues raised in the MLGCC's April 7 cease-and-desist letter and the implications of

the Nevada court's ruling in the Hendrick matter. Neither the MLGCC, the MLGCA, nor any of

their executives, commissioners, or staff responded to Kalshi' s outreach.

       60.     On April 21, 2025, Kalshi's counsel responded to the cease-and-desist letter in an

email to Secretary Martin and Michael Eaton, the state official identified in the cease-and-desist

letter as the official to whom follow-up correspondence should be addressed. Kalshi's email

response explained that the "demand in your cease-and-desist letter implicates the very same

issues being litigated in federal court in Nevada in a case where Kalshi recently successfully

obtained a preliminary injunction enjoining enforcement of state law as preempted by laws duly


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enacted by the Congress of the United States." Exhibit 2, at 1. The email further explained that

state efforts to regulate or prohibit Kalshi 's contracts "are preempted under the Supremacy
Clause of the U.S. Constitution," and that Maryland "lacks authority to regulate or prohibit

Kalshi's event contracts." Id. And Kalshi explained that it hoped "you will agree to preserve the

status quo and forbear any enforcement against Kalshi pending the outcome of the proceedings
in Nevada." Id. Noting the imminent cease-and-desist letter deadline, Kalshi noted that "[y]our

agreement to preserve the status quo would avoid any need to burden a Maryland court with

emergency litigation involving the same issues now under review in Nevada." Id. at 2.
       61.     Mr. Eaton acknowledged receipt of the email but did not agree to preserve the

status quo. Counsel for Kalshi then followed up by telephone and by email with Mr. Eaton to

obtain those assurances given the looming cease-and-desist letter deadline. Mr. Eaton responded
by email, again declined to provide those assurances, noted that Kalshi had ''until April 22,

2025" to comply with the cease-and-desist letter, and added that ''we will take appropriate

actions based on your response." Exhibit 2. Faced with the specter of imminent enforcement of
Maryland civil and criminal law as early as the next day, Kalshi fi led this complaint.

                                  REQUISITES FOR RELIEF

       62.     As a result of Defendants' threatened conduct described above, there is an
imminent likelihood that Defendants' forthcoming actions will violate the Supremacy Clause of

the U.S. Constitution and subject Kalshi and its customers to irreparable harm.

       63.     An actual and substantial controversy exists between Plaintiff and Defendants as
to their respective legal rights and duties. Defendants' conduct alleged herein will result in

irreparable injury to Plaintiffs, including but not limited to criminal liability, economic hardship,

and impairment of existing contractual relationships.

       64.     Plaintiff has no plain, speedy, or adequate remedy at law to address the wrongs
described herein. Plaintiffs therefore seek declaratory and injunctive relief restraining

Defendants from enforcing Maryland law that interferes with the operation and function of
Plaintiffs futures market described herein.


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                                             COUNT!

              {Supremacy Clause-Preemption By Commodity Exchange Act)
       65.     Plaintiff incorporates all prior paragraphs by reference.

       66.     The Supremacy Clause, Article VI, Section 2, of the U.S. Constitution provides:

                       This Constitution, and the Laws of the United States which
                       shall be made in Pursuance thereof; and all Treaties made, or

                       which shall be made, under the Authority of the United States,

                       shall be the supreme Law of the Land; and the Judges in every

                       State shall be bound thereby, any Thing in the Constitution of
                       Laws of any State to the Contrary notwithstanding.

       67.     The Supremacy Clause mandates that federal law preempt state law in any field
over which Congress has expressly or impliedly reserved exclusive authority to the federal

government, or where state law conflicts or interferes with federal law.

       68.     Congress explicitly gave the CFTC "exclusive jurisdiction" to regulate futures
trading on approved exchanges. 7 U.S.C. § 2(a)(l)(A). Without a unified approach to futures

regulation, Congress feared that fragmented and uncoordinated state regulation would lead to

"total chaos." Senate Hearings, 93d Cong., 2d Sess. 685 (1974) (statement of Sen. Clark).
Having analyzed the text, purpose, and history of the CEA, courts nationwide have agreed that

Congress intended to preempt state law in futures trading on CFTC-regulated exchanges. See,

e.g., Am. Agric. Movement, 977 F.2d at 1156; Leist v. Simp lot, 638 F.2d 283, 322 (2d Cir. 1980)
(Friendly, J. ); FTC v. Ken Roberts Co., 276 F .3d 583, 588 (D.C. Cir. 2001 ); Jones v. B. C.

Christopher & Co., 466 F. Supp. 213, 220 (D. Kan. 1979); Ho/mayer v. Dean Witter & Co., 459

F. Supp. 733, 737 (N.D. Cal. 1978).

       69.     In threatening to enforce R.C. Chapters 2915, 3775, and any rules adopted
thereunder against Kalshi, Defendants are impermissibly intruding on the CFTC's exclusive

authority to regulate futures trading on CFTC-regulated exchanges. Indeed, federal law
authorizes the CFTC to "determine" whether event contracts involving "gaming" should be

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restricted as "against the public interest"- authority that is completely incompatible with parallel

state regulation of the same putative subject matter. 7 U.S.C. § 7a-2(c)(5)(C)(i). Because federal
law occupies the entire field of regulating futures trading on regulated markets, the threatened

actions are field preempted under the Supremacy Clause.

       70.       Maryland authorities likewise threatened to deploy Maryland law in a manner that
conflicts with federal law and policy. Defendants seek to ban event contracts that federal law

and the CFTC have authorized, which would plainly frustrate the CFTC' s exclusive authority to

regulate its designated exchanges. In addition, complying with Defendants' demand to
immediately cease offering event contracts in Ohio would conflict with the federal law

governing DCMs and would thus imperil Kalshi's CFTC approval. For that reason, the

threatened actions are conflict-preempted under the Supremacy Clause.
       71 .      Defendants therefore may not enforce Maryland's gambling laws against Kalshi

because Kalshi is a federally regulated exchange that operates under the exclusive oversight of

the CFTC and its enabling statute, the CEA, 7 U.S.C. §§ 1 et seq.
                                       PRAYER FOR RELIEF

   WHERFORE, Plaintiff Kalshi requests that judgment be entered in its favor and against

Defendants as follows:
       1. Enter a judgment declaring that Crim. Law Titles 12 and 13, SG §§ 9-lE-01, 9-lE-03,

              9-lE-04, 9-lE-12, COMAR 36.10.01.02B and 36.10.14.01, Business Regulation§

              14-113, any rules adopted thereunder, and any other Maryland law that is used in a
              manner to effectively regulate Plaintiff's designated futures market violates the

              Supremacy Clause of the United States Constitution as applied to Plaintiff, and a

              declaratory judgment under 28 U.S.C. §§ 2201-2202 saying the same;
       2. Enter both a preliminary and permanent injunction prohibiting Defendants, their

              officers, agents, servants, employees, and all persons in active concert or participation

              with them who receive actual notice of the injunction, from Crim. Law Titles 12 and
              13, SG §§ 9-lE-01, 9-lE-03, 9-lE-04, 9-lE-12, COMAR 36.10.01.02B and


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          36.10.14.01, Business Regulation§ 14-113, any rules adopted thereunder, or any

          other Maryland law that attempts to effectively regulate Plaintiffs futures market,
          against Plaintiff;

       3. Any other relief within this Court's discretion that it deems just and proper.



Dated this 21st day of Apri~ 2025.                 Isl Neal Kumar Katya!

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